          Case
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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10         v.                                          )           2:10-CR-474-KJD (PAL)
                                                       )
11 JACOB CARL TILP,                                    )
                                                       )
12                         Defendant.                  )

13                                 FINAL ORDER OF FORFEITURE

14          On June 7, 2011, the United States District Court for the District of Nevada entered a

15   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United

16   States Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c), based upon the

17   plea of guilty by defendant JACOB CARL TILP to criminal offense(s), forfeiting specific property

18   alleged in the Indictment, agreed to in the Plea Memorandum and shown by the United States to have

19   a requisite nexus to the offense to which defendant JACOB CARL TILP pled guilty. Docket #1, #40,

20   #41, #42.

21          This Court finds the United States of America published the notice of the forfeiture in

22   accordance with the law on June 25, 2011, July 2, 2011 and July 9, 2011, in the Las Vegas Review-

23   Journal/Sun, notifying all known third parties of their right to petition the Court. #46.

24         This Court finds no petition was filed herein by or on behalf of any person or entity and the

25 time for filing such petitions and claims has expired.

26         This Court finds no petitions are pending with regard to the assets named herein and the time
          Case
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 1 for presenting such petitions has expired.

 2          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 3 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 4 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 5 32.2(c)(2); Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section

 6 2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to

 7 law:

 8          a)     a Sun Devil, AR-15, 5.56 caliber semi-automatic rifle, serial number 4834;

 9          b)     a Remington, 870 Magnum Express, 12 gauge pump action shotgun, serial number

10                 C773740M;

11          c)     a Henry Repeating Arms, .22 caliber lever action rifle, serial number 408443H;

12          d)     a Ruger, model 10/22, .22 caliber, semi-automatic rifle, serial number 249-21420; and

13          e)     any and all ammunition.

14          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

15 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

16 income derived as a result of the United States of America’s management of any property forfeited

17 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

18          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

19 certified copies to the United States Attorney’s Office.

20                       5
            DATED this _________           October
                                 day of _______________, 2011.

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22                                                UNITED STATES DISTRICT JUDGE

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